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EXhibit A

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1 1 Attorneys for Plaintii`fs
12
MONTANA THIRTEENTH IUDICIAL DISTRICT COURT,
13 YELLOWSTONE cOUNTY
14 TYRONE MOE, JAMES GREGG, and )
JOANNE DORNAN, )
15 §
15 § CauseNo.DVDV 16__063
17 . _ . ) 000
Plalntlffs, ) JUDGE GREGORY R. T
13 §
V.
19 ) COMPLAINT AND REQUEST FOR
lVOLI<ISV‘!AGEN AG, VOLKS WAGEN ) JURY TRlAL
20 GROUP OF AMERICA, INC., )
VOLKSWAGEN OF AMERICA, ROBERT ) 1
21 BOSCH GMBH, and ROBERT BOSCH LLC, ) /;`1 61 //}1 2 17 ¢/ (,_»..
) `“ ‘ "
22 Defendants. )
23 COIVIPLAINT AND REQUEST FOR JURY TRIAL
24 COMES NOW Plaintiffs Tyrone Moe, James Gregg, and Joanne Dornan, by and
25 through the undersigned dowd dfMOYI~:RS LAW PC and PAI.H_, WARREN LA W, PLLC:,
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hereby state and allege as follows:
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PARTIES TO THE ACTION

l. Plaintit`t` 'l`yrone Moe has, at all times relevant to this action, been a resident of
Yellowstone County, l\/Iontana, residing at 503 inlay Circle, Billings, Montana 59101.

Z. Plaintiff James Gregg has, at all times relevant to this action, been a resident of
Yellowstone County, Montana, residing in Billings, l\/lontana.

3. Plaintift` Joanne Dornan has, at all time relevant to this action, beenia resident of
Gailatin County, l\/lontana, residing at 518 South 3rd Avenue, Bozeman, Montana 59715.

4. Plaintit`fs Tyrcne Moe and .l im Gregg each purchased a diesel VW vehicle

within the State of` l\/lontana.

5. Plaintiff Joanne Dornan purchased a diesel VW vehicle outside the State of
l\/lontana.
6. All Defendants enumerated below have, at all times relevant to this action, been

working as oo~conspirators in conceit under the common objective to engage in the emissions
scheme described in this complaint Each were and are the agents of each other and have
acted and act for common goals and prot`n. Theret`ore, all acts and knowledge ascribed to one
of the Defendants is properly imputed to the others.

7. Defendant Voll<swagen Aktiengesellschaft, doing business as Volkswagen
Group and/or Voll<swagen AG (_“Volkswagen AG”), has its principal place of business at
Berliner Ring 2, 38440 Wolfsburg, Gerniany. Vclkswagen AG is a corporation organized
under the laws of Germany and is the parent corporation of the Volkswagen Group of
America, lnc. and Volkswagen ot` Arnerica, lnc., subsidiary Dei"endants.

8. Defendant Volkswagen Group ot` America, lnc., Voll<swagen’s wholly-owned

 

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U.S. subsidiary, is a corporation doing business in l\/lontana and is organized under the laws
of the State of New Jersey, with its principal place of business located at 2200 Ferdinand
Porsche Drivc, l-lerndon, Virginia 20171.

9. Defendant Volkswagen ot` America, lnc., Volkswagen’s wholly-owned U.S.
subsidiary, is a corporation doing business in Montana and is organized under the laws of the
State ot` New Jersey, with its principal place of business located at 2200 Ferdinand Porsche
Drive, Herndon, Virginia 20171.

10. Det`endants Voll<swagen AG, Volkswagen Group of America, lnc., and
Volkswagen of America, lnc., hereinafter referred to collectively as “Volkswagen” or “VW.”

ll. Defendant Robert Bosch Gmbl~l is a German multinationa| engineering and
electronics company headquartered in Stuttgart, Germany.

12. Det`endant Robert Bosch LLC is Robert Bosch GmbH’s subsidiary and a
corporation doing business in l\/lontana and is organized under the laws ot` the State of New
.lersey_, having its principal place of business located at 38000 Hills Tech Drivc, Farmington
Hills, Michigan 48331.

13. Defendants Robert Bosch Gmbl~l and Robert Bosch LLC are hereinafter referred
to collectively as “Bosch."’

14. At all times relevant to this action, VW and/or its parents, aft`lliates, and agents,
in conjunction with Bosch and/or its parents, aftiliates, and agents, manufactured distributed,
sold, leased, warranted, advertised, and promoted vehicles with fraudulently low nitrogen
oxide ("‘NOx”) and/or carbon oxide (“COX"`) emissions ratings under the VW brand name
throughout the United States, including Montana. ln part, Bosch supplied defeat device
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component/s and/or software to VW, which was installed in certain fraudulent emissions
systems

15. Def`endants were provided notice of these issues by their knowledge of pertinent
information, prior complaints filed against them and/or others, and internal investigations

JURISDICTION AND VEN U.E

16. This Court has jurisdiction over the parties and subject matter presented herein.
l\/lont. Rules Civ. Proc. (“MRCP”) 413; Mont. Code Ann. (“MCA”) § 3~5-302.

l7. Venue is proper in Yellowstone County. MCA § 25-2~122(2).

FACTS COMMON TO THESE CAUSES OF AC.TION

18. Plaintift`s herein reallege and incorporate by reference all preceding statements
and allegations as though fully set forth herein.

l9. Unbeknownst to Plaintit`t`s at the time of their purchases, VW and Bosch
intentionally and knowingly manufactured and sold diesel and gas cars with higher levels of
carbon oxides (“COx”) and/or nitrogen oxides (“NOx”) emissions than What was certified to
the EPA, and higher levels than permitted by state and federal regulations

20. Unknown to Plaintiff`s at the time of their purchases, VW and `Bosch cuttitted
Plaintit`fs’ VW Clean Diesel vehicles with a defeat device specifically intended to
fraudulently mislead regulators and consumers and to bypass federal and state emissions
requirements

21. VW and Bosch fraudulently concealed and misrepresented the true NOx and
CGx emissions levels of VW vehicles, and intentionally withheld information within their
knowledge to purchasers, including Plaintil`fs, and federal and state authorities
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l 22. VW and Bosch violated federal and state laws, defrauded and caused losses to
2 VW purchasers, including Plaintiffs, damaged and have continued to damage the VW and
3 Bosch brands, and have caused the death of dozens of people in the limited States, degrading
4 the health of many more.
5 23. VW fraudulently marketed itself as a leader in environmental issues in order to
6 improve sales in the United States, and fraudulently marketed VW Clean Diesel vehicles as
7 clean, efficient, and environmentally friendly.
8 24. VW and Bosch knew of potential issues in 2006, and likely earlier, but failed to
9 disclose those material facts to prospective purchasers, including Plaintiffs.
10 25. VW’s and .Bosch’s willingness to use unlawful competitive methods, including
il noncompliance with state and federal laws and regulations, is part of VW’s and Bosch’s
12 corporate culture.
13 26. VW admitted illegal misconduct before Congress and in press conferences
14 27. Even after VW admitted illegal misconduct, VW and Bosch have concealed that
15 illegal misconduct, concealed the true, decreased value of Plaintiffs’ affected VW vehicles,
16 falsely marketed themselves as honest and environmentally friendly, and continued to deceive
17 customers and the public though false recalls, false l.ixes, and false advertising
18 28. VW and Bosch have falsely represented, and continue to falsely represent, to
l9 consumers and regulators that VW vehicles are environmentally friendly and comply With
20 federal and state NO>'. and/or COx emissions standards, and that VW and Bosch were and are
21 reputable manufacturers whose representations can be trusted.
22 29. VW and Bosch knowingly, aftilmatively, and actively concealed the true nature,
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quality, and character ofthe emissions systems and emissions ot`Plai.ntiffs’ affected vehicles

30. VW and Bosch were under a continuous duty to disclose their illegal misconduct
to Plaintii`fs.

31. VW and Bosch knew that if it was discovered that they had engaged in these
practices, potential purehasers, including Plaintiffs, either would not have purchased those
Clean Diesel VW vehicles or would have paid a substantially reduced amount

32. VW and Bosch manipulated the market by false statements that hid their illegal
misconduct and intentionally deceived VW purchasers, including Plaintiffs; Plaintiffs relied
on those statements, to their detriment

33. Even through the exercise of reasonable diligence, Plaintiffs could not have
discovered the nature of VW’s and Bosch’s misconduct

34. As a result of VW’s and Bosch’s unfair, deceptive, and/or fraudulent business
practices, the Bosch-VW conspiracy, and other violations of state and federal laws:

a. Plaintit`fs were fraudulently induced to purchase diesel VW vehicles illegally
outtitted with Bosch defeat devices, without their consent, and, for some
Plaintiffs, contrary to the fundamental purpose of the bargain due to those
Plaintiffs’ specific goal of obtaining a low emissions vehicle;

l). Plaintifi"s unwittingly and unwillingly participated in discharging illegally high
levels of harmful toxins and in decreasing air quality;

c. Plaintiffs suffered losses in money and/or property, including a substantial
decline in the market value oftheir VW diesel vehicles; and

d. Plaintiffs may continue to suffer losses in money and/or property, as VW’s and

 

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1 Bosch’s reputation, the VW and Bosch brands, and VW diesel values may
2 continue to decline
3 35. Fl`he timing and magnitude of the declines in the prices and valuation of VW
4 diesel vehicles negates any inferences that the losses suffered by Plaintiffs were caused by
5 changed market conditions, macroeconomie factors, or company~specific facts unrelated to
6 VW and Bosch illegal misconduct
7 36. VW and Bosch have partially masked the decline in VW diesel vehicle valuation
8 and resale prices and the decline in VW and Bosch brand value, for example with dealer
9 rebates to current VW diesel owners.
10 37. Had Plaintiffs known of Defendants’ illegal misconduct at the time they
11 purchased their VW- and Bosch-made diesel vehicles, including the presence of the defeat
12 device, they would have paid substantially less or would not have purchased those vehicles at
13 all.
14 COUNT l ~ FRAUD BY CONCEALMENT PURSUANT TO MONTANA LAW
15 38. Plaintiffs reallege and incorporate by reference all preceding statements and
16 allegations as though fully set forth herein.
17 39. Defendants intentionally concealed and suppressed material facts concerning the
18 quality and character ofPlaintiffs’ diesel VW vehicles.
19 40. Plaintiffs reasonably relied upon _Defendants’ false representations regarding the
20 VW brand and VW vehicles when evaluating the market value of their VW diesel vehicles
21 and when deciding whether to purchase them. They had no way of knowing that Defendants’
22 representations were false and gravely misleading Defendants employed extremely
23
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sophisticated methods of deception, such that consumers, including Plaintiffs_. did not, and
could not, unravel Defendants’ deception on their own.

41. Defendants also took steps to ensure that employees did not reveal the details of
their deception to regulators or consumers, including Plaintiffs, in order to successfully
misrepresent the reputation of the VW brand and the quality of VW vehicles

42. Defendants’ false representations were material to Plaintiffs, both because these
misrepresentations concerned the quality of VW affected vehicles, and also because they
played a significant role in assessing the value of the VW brand and all VW vehiclcs.

43. Defendants knew that customers like Plaintiffs who purchased the affected
vehicles highly valued the “clean” nature of the vehicles they were purchasing, and
accordingly paid a premium for fraudulently misrepresented high emissions vehicles

44. Defendants had a continuing duty to disclose the emissions deception to
Plaintiffs, because: (l) knowledge of the deception and its details were known and accessible
only to Defendants; (2) Defendants had exclusive knowledge as to the implementation and
maintenance of their deception; and (3) Defendants knew the facts surrounding the deception
were unknown to and unable to be reasonably discovered by Plaintiffs.

45. Defendants also had a duty to disclose the emissions deception to Plaintitfs
because Defendants had a contractual relationship with each Plaintiff.

46. Defendants also had a duty to disclose the emissions deception because
Defendants made general affirmative representations about the quality of the VW brand, VW
emissions standards, and the nature of Plaintift`s’ vehicles. Such references were misleading,

deceptive, incomplete without the disclosure of the additional facts regarding the actual

 

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emissions of VW vehicles, the actual VW and Bosch philosophy with respect to legal
compiiance, actual VW and Bosch practices, the VW brand value, and VW vehicle values.'

47. Having volunteered to provide information to Plaintiffs, Defendants had a duty
to disclose the entire truth. All of the facts omitted and concealed by VW and Bosch were
material because they affected the value of Plaintit`fs’ VW vehicles and forced Plaintiffs to
unwittingly and unwillingly contribute to unlawful and excessive NOx and/or COx emissions

48. Defendants actively concealed and/or suppressed these material facts, in whole
or in part, to expand and protect their profits, and to avoid the perception that VW vehicles
did not or could not comply with federal and state laws governing clean air and emissions,
which perception would damage the Defendants’ brand image and cost Defendants money.
Defendants concealed these material facts at the expense of Plaintiffs.

49. On information and belief, Defendants still have not made full and adequate
disclosures and continue to defraud Plaintiffs by concealing material information regarding
Defendants’ systematic emissions deception and Plaintiffs’ corresponding damages

50. Plaintiffs were unaware of the omitted material facts referenced herein, and they
would not have acted as they did if they had known of the concealed and suppressed i`acts, in
that they would not have purchased VW vehicles, would not have supported a heavily-
polluting brand, would not have over-paid for their VW vehicles, would not have lost value in
their VW vehicles, and/or would have taken other steps in light of the information concealed
from them. Plaintiffs’ actions were entirely justified Defendants were in exclusive control of
the material facts, and such facts Were not known to Plaintifi`s.

51. As a result of Defendants’ concealment and suppression of the facts, and failure

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to timely disclose those facts, Plaintiii:`s have sustained damages because they own diesel VW
vehicles that are diminished in value and because they were unwitting and unwilling
contributors to illegal and excessive NOx and/or COx emissions Had Plaintiffs been aware
of Defendants’ deceptive corporate poiicies, emissions deceptions, or callous disregard for
legal compliance, they would have paid less to purchase their VW vehicles or would not have
purchased them at all.

52. The value of Plaintiffs’ vehicles has diminished as a result of Defendants’
fraudulent concealment o'l" the VW emissions deception, as it has greatly tarnished the VW
and Bosch brand name attached to Plaintiffs’ vehicles, and made any reasonable consumer
reluctant to purchase any VW vehicle or to pay what otherwise would have been fair market
value.

53. Accordingly, Defendants are liable to Plaintiffs for damages in an amount to be
proven at trial.

54. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,
with intent to defraud, and in reckless disregard cf Plaintiffs’ rights and the representations
that VW made to them. These malicious acts were performed solely in order to enrich
Defendants Such egregious conduct warrants an assessment of punitive damages in an
amount sufficient to deter such conduct in the future, to be determined upon evidence
submitted at trial.

55. Plaintit`l"s plead fraudulent concealment pursuant to the law of l\/iontana based on
the residences at pertinent times of Plaintif`fs.

56. As necessary, and in the alternative, Plaintiffs plead fraudulent concealment

 

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pursuant to the law ofNew Jersey, where Defendants’ subsidiaries are incorporated
COUNT ll - BREACH OF CONTRACT PURSUANT TO MONTANA LAW

57. Plaintiffs reallege and incorporate by reference all preceding statements and
allegations as though fully set forth herein.

5 8. Absent Defendants’ misrepresentations and omissions, Plaintiff.s would not have
purchased their VW vehicles, would have paid substantially less for those vehicles, and/or
would currently have higher-valued vehicles Accordingly, Plaintiffs did not receive the
benefit of their bargains and/or have lost economic value in their VW vehicles

59. Each and every sale of a VW vehicle by VW or a VW affiliate or subsidiary
constitutes a contract between VW and the purchaser. VW breached these contracts by
selling Plaintiffs VW vehicles while misrepresenting or failing to disclose that their VW
vehicles were fraudulently defective VW knew or had reason to know that Plaintiffs’ VW
vehicles would lose value when Defendants’ misrepresentations and omissions came to light.

60. As a direct and proximate result of VW’s breach of contract, Plaintiffs have
been damaged in an amount to be proven at trial, which shall include, but is not limited to, all
compensatory damages, incidental and consequential damages, and all other damages allowed
by law.

61. Pursuant to Mont. Code Ann. § 30-2~721, remedies for material
misrepresentation or fraud include all remedies available under law for nonfraudulent breach.
l\leither rescission or a claim for rescission of the contract for sale nor rejection or return of
the goods shall bar or be deemed inconsistent with a claim for damages or other remedy.

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COUNT III ~ BREACH OF EXPRESS WARRANTY PURSUANT TO MONTANA LAW

62. Plaintiffs realiege and incorporate by reference all preceding statements and
allegations as though fully set forth herein.

63. Defendants made numerous representations descriptions, and promises to
Plaintift`s regarding the performance and emission controls of their diesel vehicles

64. Defendants knew or should have known that their representations descriptions,
and promises were false. Defendants were well-aware that they had installed defeat devices
in the vehicles sold to Plaintiffs.

65. Plaintil"fs reasonany relied on Defendants’ representations in purchasing "‘clean”
diesel vehicles. Those vehicles, however, did not perform as was warranted Unbeknownst to
Piaintiffs, those vehicles included devices that caused their emission reduction systems to
perform at levels worse than advertised Those devices are defects Accordingly, Defendants
breached their express warranty by providing a product containing defects that were not
disclosed to the Plaintiffs.

66. As a direct and proximate result of Defendants’ false and misleading
representations and warranties, Plaintiffs suffered significant damages and seek the relief
described below.

COUNT lV -~ BREACH OF lMPLlED WAR`RAN’l`Y PURSUANT TO MON'l"ANA LAW

67. Plaintiffs reallege and incorporate by reference all preceding statements and
allegations as though fully set forth herein.

68. Defendants made numerous representations, descriptions, and promises to
Plaintiffs regarding the functionality of the “clean"` diesel technology in VW vehicles.

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69. Plaintiffs reasonably relied on Defendants" representations in purchasing their
diesel VW vehicles

70. Defendants knew that their representatioiiS, descriptions, and promises regarding
VW diesel engines were false.

71. When Plaintiffs purchased VW’s diesel vehicles, those vehicles did not conform
to the promises or afiirmations of fact made in Defendants’ promotional materials, including
that the vehicles were designed to meet the most demanding environmental standards instead,
as alleged hercin, those vehicles were designed to cheat those standards, and the VW diesel
vehicles emitted far higher levels of pollution than promised

72. The VW diesel vehicles failed to conform to Defendants’ implied warranty
regarding their functionalityl

73. As a direct and proximate result of Defendants’ false and misleading
representations and warranties, Plaintiffs suffered significant injury.

COUNT V ~ BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

PURSUANT TO MONTANA LAW

74. Plaintiffs reallege and incorporate by reference all preceding statements and
allegations as though fully set forth herein.

75. Defendants are and were at all relevant times “merchants” with respect to motor
vehicles and/or the defeat device within the meaning of Montana law.

76. A warranty that the VW diesel vehicles Were merchantable was implied in the
contract for their sale. l\/lont. Code Annv § 30~2-314(1).

77. VW diesel vehicles, when sold and at all times thereafter, were not merchantable
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or fit for the ordinary purpose for which cars are used.

78. VW diesel vehicles are inherently dangerous in that they emit up to forty (40)
times more noxious fumes into the air than is permissible under federal and state emissions
laws and regulations

79. VW diesel vehicles would not pass without objection in the trade under the
contract description i\/Iont. Code Ann. § 30-2-314(2)(a).

80. VW diesel vehicles did not conform to the promises or affirmations of fact made

' on their labels. Mont. Code Ann. § 30-2-314(2)(®.

81. Other implied warranties arose from the course of dealing and usage of trade,
including that VW diesel vehicles met federal and state emissions laws and regulations Mont.
Code Ann. § 30-2-314(`3).

82. As a direct and proximate result of Defendants’ breach of the warranties Of
merchantability and fitness for a`particular purpose, Plaintiffs have been damaged and have
suffered losses.

COUNT VI - VIOLATION OF THE MAGNUSON~MOSS WARRANTY ACT

83. Plaintiffs reallege and incorporate by reference all preceding statements and
allegations as though fully set forth herein.

84. VW diesel vehicles and the defeat device are “‘consumer products.” 15 U.S.C. §
2301(1`).

85. Plaintiffs are "‘consumers.” 15 U.S.C. § 2301 (_3:).

86. Defendants are “warrantors” and “suppliers” as defined in 15 U.S.C. §§ 2301(4)

and (_5), respectively

 

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87. Plaintiffs have a cause of action as consumers who have been damaged by the
failure of Defendant warrantors to comply with an implied warranty. 15 U.S.C. § 2310(d)(l).

88. Defendants provided Plaintiffs with “implied warranties,” as described 15
U.S.C. § 2301(7).

89. Defendants have breached those implied warranties by knowingly providing
Plaintiffs with defective VW diesel vehicles.

90. By Defendants’ conduct as described, including knowledge of defects inherent
in VW diesel vehicles and action and inaction in the face of that knowledge, Defendants
failed to comply With obligations under written and implied promises, Warranties, and
representations

91. in their capacity as warrantors, and by the conduct described, any attempts by
Defendants to limit the implied warranties in a manner that would exclude coverage of the
defective software and systems is unconscionable and any such effort to disclaim or otherwise
limit liability for the defective software and supporting systems is null and void.

92. Plaintiffs are in privity with VW, in turn in privity with Bosch, because
Plalntiffs purchased the defeat device software from VW or its agents, and VW purchased the
defeat device software from Bosch or its agents

93. As a result of Defendants’ breach of implied warranties, Plaintiffs are entitled to
revoke acceptance of their vehicles, obtain damages and equitable relief, and obtain costs. 15
U.S.C. § 2310.

COUNT VII UNJUST ENRICHMENT PUR.SUANT TO MON']`ANA LAW

94. Plaintit`t`s reallege and incorporate by reference all preceding statements and
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allegations as though fully set forth herein.
95. Under Montana law, described in Sebena v. S[a!e, 267 Mont. 359 (1994),
Plaintiffs have established a prima facie case under the equitable doctrine of unjust enrichment

96. Plaintiffs have shown misconduct and/or fault on the part of the Defendants Irz'.,

at367.

97. Plaintiffs have shown that Defendants took advantage of Plaintiffs. ]a’.

98. Plainti'l"fs conferred benefits on Defendants by purchasing and using VW
vehicles

99. Defendants have retained the benefits that Plaintiffs conferred on them, and
know of and appreciate those benefits

100. Defendants were and continue to be unjustly enriched at the expense of
Plaintiffs. Defendants should be required to disgorge this unjust enrichment

101. Due to Defendants’ unjust enrichment, Plaintiffs are entitled to restitution by
virtue of the theory of quantum meruit

COUN'I` Vlll - NEGLIGENCE PURSUANT TO MONTANA LAW

102. Plaintiffs reallege and incorporate by reference all preceding statements and
allegations as though fully set forth herein.

103. Under Montana law, each Defendant was and _is responsible not only for the
results of their willful acts, but also for the injury occasioned to `Plaintiffs by the Det`endant’s
want of ordinary care or skill in the management of Defendants’ property. l\/lont. Code Ann. §
27-1~701.

104. Defendants had a duty to conform their conduct to specific standards including

 

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those defined by federal and state laws and regulations.

105. Defendants’ conduct failed to conform to the appropriate standards, including
those defined by federal and state laws and regulations and Defendants thereby breached their
duty to conform their conduct to those standards

106. Defendants’ substandard conduct was a cause-in~fact of Plaintiffs’ in_iuries,
because but-for the use of the defeat device, there Would be no associated scandal, reduced
trust, lack of legal compliance, and other factors reducing the value of Plaintiffs’ VW vehicles.

107. Defendants’ substandard conduct was a legal cause of Plaintiffs’ injuries,
because it was foreseeable that Plaintiffs would suffer losses as a result of Defendants’ illegal
misconduct and related publicity7 and following the discovery that Plaintiffs’ VW vehicles emit
unlawfully high quantities of pollutants and toxins into the atmosphere

108. Plaintiffs have sustained, and continue to sustain, actual damages as a result of
Defendants’ substandard conduct

COUNT IX - DECEIT PURSUANT TO MONTANA LAW

109. Plaintiffs reallege and incorporate by reference all preceding statements and
allegations as though fully set forth herein.

1 10. Defendants suggested as fact that which was not true, and which Defendants did
not believe to be true. l\/lont. Code Ann. § 27~1.-712(2)(a).

ll 1. Defendants suggested and continue to suggest as fact that which is not true, and
which Defendants did not and do not believe to be true. Mont. Code Ann. § 27-1-712(2)(a).

112. Defendant asserted and continue to assert as fact that which was not and is not

true, and which Defendants did not and do not have reasonable ground for believing to be true.

 

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1 Mont. Code Ann. § 27-] ~712(2)(b).

4 for want of communication of those facts. l\/Iont. Code Ann. § 27~1-712(2)(0).

8 712(2)(d).

2 113. Defendants suppressed, and continue to suppress, facts that they were and are

3 bound to disclose, and gave, and continue to give, information of other facts likely to mislead
5 114. Defendants promiscd, and continue to promise, delivery of an environmentally-
6 friendly VW diesel vehicle, and company-wide compliance with environmentally-sound

7 values, without any intention of performing those promises. l\/lont. Code Ann. § 27-1~

9 115. Defendants practiced, and continue to practice, a deceit with the intent to

10 defraud the public and the Plaintiffs and every other purchaser of an affected VW vehicle, are

11 considered to have intended, and to intend, to defraud every Plaintiff and other affected VW

12 vehicle owner who was or is actually misled by the deceit. Mont. Code Ann. § 27~1-712(3),

13 l 16. Defendants continue to practice a deceit with the intent to defraud the public and

14 are considered to intend to defraud every Plaintiff who is actually misled by the deceit. Mont.

15 Code Ann. § 27-`1-712(3).

16 117. Defendants willfully deceived Plaintiffs with intent to induce an alteration in

17 Plaintiffs’ position to Plaintiffs’ injury and risl<, and Defendants are liable for any damage that

18 Plaintiffs have suffered or suffer in the future as a result of that willful deeeit. l\/lont. Code Ann.

19 §27~1-712(1).

 

 

20 C-OUNT X - VIOLA"[` 1 ON OF MON'I`ANA UNFAlR TRADE PRACTICES AND

21 CONSUl\/IER PROTECTION ACT OF 1973

22 l 18. Plaintiffs reallege and incorporate by reference all preceding statements and
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allegations as though fully set forth herein.

119. Plaintiffs are “consumers"’ within the meaning of the Montana Unfair Trade
Practices and Consumer Protection Act of 1973 (“Montana CPA”), because they are persons
who have purchased goods primarily for personal, family, or household purposes Mont. Code
Ann. § 30~14~102(1).

120, Plaintiffs and Defendants are “persons” Within the meaning of Mont. Code Ann.
§ 30-14~102(6).

121. The sale of diesel VW vehicles to Plaintiffs occurred within "trade and
commerce” within the meaning of _Mont. Code Ann. § 30-14»102(8), and Defendants
committed deceptive and unfair acts in the conduct cf “trade and commerce” as defined in that
statutoty Section.

122. The Montana CPA makes unlawful “unfair methods of competition and unfair
or deceptive acts or practices in the conduct of any trade or commerce.” l\/lont. Code Ann. § 30~
14-103.

123. By fraudulently misrepresenting compliance with federal and state regulations
and laws regarding vehicle NOX and/or C.()x emissions, including by installing the defeat
device in Plaintiffs’ diesel VW vehicles, Defendants engaged in unfair and deceptive acts or
practices in violation ofthe l\/lontana CPA.

124. In the course of its business, Defendants deceitfully concealed Piaintiffs’ VW
Vehicle emissions, and otherwise engaged in activities with a tendency or capacity to deceive.

125. Defendants also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment_, suppression or omission

 

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2 omission1 in connection with marketing and sale of affected VW diesel vehicles

5 since 2007), but concealed that information

10 reputable manufacturers that value public health and environmentalism.

1 of any material fact with intent that others rely upon such concealment, suppression or

3 `126. Defendants knew about legally noncomplying VW vehicles, the use of the

4 defeat device, and/or the true nature of the Clean Diesel engine system for many years (likely

6 127. Defendants engaged in unfair and deceptive business practices in violation of
7 the Montana CPA by failing to disclose and by actively concealing the defeat device and the
8 true performance of the Clean Diesel engine system, such as by marketing those vehicles as

9 safe, environmentally clean, el'ficient, and of high quality, and by presenting themselves as

11 128. Defendants engaged in unfair and deceptive business practices in violation of

12 the Montana CPA when they published and disseminated advertisements despite having

14 advertisements Mont. Code Ann. § 30~14-105.

13 knowledge, or reason to know, of the false, misleading, and/or deceptive character of those

15 129. Defendants’ unfair methods of competition and unfair and/or deceptive acts

16 and/or practices in the conduct of Defendants’ trade or commerce were, and are, unlawful

17 Mont. Code Ann. § 30-14-103.

18 130. Defendants’ unfair and deceptive acts and practices were likely to and did in fact

19 deceive reasonable consumers, including Plaintiffs, about the true cleanliness and efficiency of

20 their VW vehicles, the quality of Defendants’ brands, Defendants’ devaluing of environmental

21 cleanliness and integrity, and the true value of affected diesel VW vehicles

22 131. Defendants intentionally and knowingly misrepresented material facts regarding

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l Defendants’ brands with an intent to mislead Plaintiffs.

2 132. Defendants knew or should have known their conduct violated the Montana
3 CPA.
4 133. Defendants owed Plaintiffs a duty to disclose the true safety, environmental

5 cleanliness, efficiency, and value of their affected diesel VW vehicles

6 134. A vehicle made by a reputable manufacturer of environmentally friendly
7 vehicles is worth more than an otherwise comparable vehicles made by a disreputable and
8 dishonest manufacturer.

9 135. Defendants’ unlawful practices and resulting negative publicity have caused
10 Plaintiffs’ VW diesel vehicle values to decline.

l l 136. Plaintiffs suffered ascertainable losses caused by Defendants’
12 misrepresentations and concealment of and failure to disclose material information

13 137. Had they known about Defendants’ defeat devices, Plaintiffs would have paid
14 less for their vehicles or would not have purchased them at all.

15 138. Defendants had an ongoing duty to all of Defendants’ customers and purchasers,
16 including Plaintiffs, to refrain from unfair and deceptive acts or practices under the Montana
17 CPA.

18 139. Defendants’ violations present a continuing risk to Plaintiffs and to the general
19 public, and affect the public interest

20 14(). As a direct and proximate result of Defendants’ violations cf the Montana CPA,
21 Plaintiffs have suffered inj ury~in-fact and/or actual damage

22 141. As consumers who suffered and continue to suffer ascertainable losses as a

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result of Defendants` unlawful methods, acts, and/or practices, Plaintiffs bring this action in the
district court of Yellowstone County, where Defendants are doing busirress, to recover actual
damages or $500, whichever is greater.

142. The court may, in its discretion, award up to three times the actual damages
sustained and may provide any other equitable relief that it considers necessary or proper.
Mont. Code Ann. § 30-14-133(1).

143. The court may, in its discretion, award the prevailing party reasonable attorney
fees incurred in prosecuting or defending the action. Mont. Code Ann. § 30~14~133(3).

144. As consumers who suffered and continue to suffer ascertainable losses as a
result of Defendants’ unlawful methods, acts, and/or practices, Plaintiffs further seek to recover
discretionary treble damages, reasonable attorneys’ fees, and any other relief the Court deems
necessary or proper, under Mont. Code Ann. § 30~14-133.

COUNT Xl _ VIDL/-\TIGNS OF THE RACKETEER iNl-TLUENCED AND CORRUPT
ORGANizAT_IONS ACT (“RICO”l

145. Plaintiffs herein reallege and incorporate by reference all preceding statements
and allegations as though fully set forth herein.

146. Defendants are all “persons"' under 18 U.S.C. § 1961(3).

147, Defendants violated 18 U.S.C. § 1962(0) by participating in or conducting the
affairs of the RlCO Enterpr'ise through a pattern of repeatedly defrauding consumers The
methodology of the fraud is set forth above and as described in this Count. ’f he persons
participating in the Enterprise and their respective roles in the Enterprise are set forth below.

148. VW and Bosch are RICO co~conspirators. '1" he Bosch-VW conspiracy
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undertook a fraudulent scheme to avoid NOx and/or COx emissions quality controls in VW
vehicles sold in the United States and elsewhere, with false and misleading statements and
omissions relating to those emissions through the use of the U.S. l\/Iails, and interstate and
international wire, radio, and television transmissions

149. At all relevant times and as described above, Defendants carried out their
scheme to defraud Plaintiffs in connection with the conduct of an “Enterprise" within the
meaning of 18 U.S,C. § 1961(4).

150. The Enterprise consisted of all Defendants, who constitute an “association-in~
fact enterprise” within the meaning of RICO.

151. Enterprise activities affected interstate and foreign commerce, is an association-
in-fact of individuals and corporate entities within the meaning of 18 U.S.C, § 1961(4) and
consists of persons associated together for the common purpose of artificially increasing VW
vehicle and brand valuation by selling vehicles outfitted With unlawful devices and/or
software that the members of the Enterprise knew could not provide the promised results to
consumers

152. The Enterprise was formed in 2006 or earlier and continues to this day.

153. 'l`he Enterprise engaged in a pattern of racketeering activity by fraudulently
misrepresenting VW vehicle and brand valuation with illegal misconduct, collecting tens of
billions of dollars of illicit profits as a result.

154. The Enterprise is separate and distinct from the pattern of racketeering activity.
The Enterprise is an ongoing organization or group and exists to advance the interests of the
individual entities that comprise its membership Enterprise members all served the common
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purpose of fraudulently misrepresenting the value of VW stock, brand, and vehicles Each
Enterprise member benefited from the common purpose: selling VW vehicles and Bosch
devices and/or software for more than the fair market value or that would not otherwise have
been sold, had VW’s affected vehicles been truthfully advertised, marketed, and labeled

155. The Enterprise also exists for the legitimate purpose of selling vehicles that do
not evade emissions standards The Enterprise operates within a framework that includes the
sale of consumer goods that are not, in and of themselves, fraudulent in nature. Each
Enterprise member performs a role in the Enterprise consistent with that framework and
structure that furthers the activities of the Enterprise in connection with the Enterprise
members’ sale legally compliant VW vehicles to consumers

156. Throughout this scheme, Defendants and others agreed to utilize the false and
misleading representations and omissions relating to the affected vehicles in a conscious and
deliberate effort to sell VW vehicles and hide the true value of those vehicles Defendants
sold VW vehicles and products with fraudulent efficacy claims at a premium price that, in
fact, provided no benefit to the purchaser of those vehicles and products, and had significantly
less value than consumers paid.

157. Bosch and Volkswagen knowingly participated in the formulation and
manufacture of fraudulent device/s and/or software, as well as the false marketing materials
used to sell and falsely value the VW brand and VW vehicles.

158. At all times relevant to this case, Defendants were all willing and deliberate
participants in the Enterprisc.

159. 'l"he Enterprise was, at all relevant times, a continuing unit functioning with a

 

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common purpose of Selling affected vehicles and fraudulently misrepresenting the value of
the VW brand and VW vehicles in order to increase the sale of VW vehicles and thereby
increase Defendants’ protits.

160. ln furtherance of the scheme, VW, facilitated by and in concert with Bosch,
engaged in thousands of acts of mail fraud and wire fraud, each of which constitute
“racketeering activity,” as that term is defined in 18 U.S.C. § 1961(1).

161. Those acts of mail fraud and wire fraud include distributing the false and
misleading marketing materials via mail, television, radio, and the Internet to members of the
public as well as communicating among themselves with respect to the scheme via interstate
and international email and telephone with the common purpose of fraudulently
misrepresenting the VW brand and VW vehicles

162. In addition to the foregoing, each download or view of one of VW’s
advertisements and videos on the Internet constituted a separate offense of wire fraud.

163. As a result of the foregoing, Plaintiffs have been injured in their business and/or
property, and Plaintiffs’ losses are a direct result of the predicate acts described above.
Defendants’ numerous false and misleading statements (and marketing and advertisements
containing omissions) sent via the U.S. mail and interstate wires were directed to Plaintiffs,
and were relied on by the public, including Plaintiffs. Plaintit`fs would not have incurred
losses but for the predicate acts described above.

164, Plaintiffs’ property has been injured by reason of Defendants’ violation of 18
U.S.C. § 1962, and thus Plaintiffs may bring suit. 18 U.S.C. § 1964(c).

165. Plaintiffs shall recover threefold the damages sustained and the costs of suit,
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including a reasonable attorney’s fee. 18 U.S.C. § 1964(0).
[_).AMAGES
166. Plaintiffs reallege and incorporate by reference all preceding statements and
allegations as though fully set forth herein.
167` The actions of Defendants as described herein caused harms and losses to
Plaintiffs, and continue to cause harms and losses to Plaintiffs.
168. Defendants are jointly and severally liable for the harms and losses they have
caused to Plaintiffs. Mont. Code Ann. §§ 27-1-703 and 27-1~705.
169. Plaintiffs seek damages and equitable relief for the conduct of Defendants
related to unlawful VW emissions, as alleged in this Complaint
170. The harms and losses include, but are not limited to:
a. The premium that Plaintiffs paid for their diesel VW vehicles as a result of the
artificially inflated value of the VW “CleanDiese-l” technology;
b. The diminution in value of Plaintiffs’ VW vehicles as a result of Defendants’
misconduct, including the loss of consumer trust in the VW brand;
c. General harms and losses as may be deemed just and proper in accordance with
the proof;
d. All damages, harms, and losses allowed under federal and state laws, including
the laws of Montana and New Jersey; and
e. Such other and further relief as the Court deems just and proper.
171. Plaintiffs seek punitive damages for the sake of example and/or for the purpose

of punishing Defendants Mont. Code Ann. § 27-1-220.

 

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172. Defendants should pay punitive damages because they are guilty of actual
malice Defendants are guilty of actual malice pursuant to Mont. Code Ann. § 27-1-221
because:

a. Defendants had knowledge of facts or intentionally disregarded facts that
created a high probability of injury to Plaintiffs, Mont. Code Ann. § 27-1~
221(2);

h. Defendants deliberately proceeded to act in conscious or intentional disregard of
the high probability of injury to the Plaintiffs, Mont. Code Ann. § 27-l-
221(2)(a); and

c. Defendants deliberately proceeded to act with indifference to the high
probability of injury to the Plaintiffs, Mont. Code Ann. § 27-1-221(2)(b).

173. Defendants should pay punitive damages because they are guilty of actual fraud.
Defendants are guilty of actual fraud pursuant to Mont. Code Ann. § 27-1-221 because:

a. Defendants made a representation with the knowledge of its falsity, Mont. Code
Ann. § 27-1-221(3)(a);

b. Defendants concealed a material fact with the purpose of depriving the Plaintiffs
of property and otherwise causing injury, Mont. Code Ann. § 27-1-
221(3)(b);

c. Plaintiffs had a right to rely upon the Defendants’ representations and suffered
injury as a result of that reliance, Mont. Code Ann. § 27~1-221(4).

174. Plaintiffs seek the costs of this suit, including reasonable attorneys’ fees.

175, Plaintiffs reserve the right to reevaluate the amount in controversy at a future

 

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date upon additional lmowledge and information

REQUEST FOR JURY TRIAL

Plaintiff requests a trial by jury as to all issues so tiiable.

Dated this Sth day of May, 2016.

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CERTIFICATE OF SERVICE

1 hereby certify that on this 5th day of May, 2016, a copy of the foregoing was served

by first class mail upon the following

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